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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                         x
Galo Morocho; Jose Estrada and Luis Zambrano,            : Civil Action No.
                                                         :
                  Plaintiffs,                            :
 - against -                                             :
                                                         : FLSA COMPLAINT
New Broad Street Automotive, Inc.; and Michael           :
Masi,                                                    :
                                                         : Jury Trial Demanded
                  Defendants.                            :
                                                         x


         Plaintiffs Galo Morocho; Jose Estrada and Luis Zambrano (collectively, the “Plaintiffs”),

by and through their attorney, Mohammed Gangat, Esq., file this Complaint against defendants

New Broad Street Automotive, Inc.; and Michael Masi (collectively, the “Defendants”), and

allege upon personal knowledge as to themselves and upon information and belief as to other

matters, as follows:

                                   NATURE OF THE ACTION

         1.      Plaintiffs allege that, pursuant to the Fair Labor Standards Act, as amended, 29

U.S.C. §§ 201, et seq. (“FLSA”), they are entitled to recover from the Defendants: (1) unpaid

overtime compensation, (2) liquidated damages on those amounts, (3) prejudgment and post-

judgment interest; and (4) attorneys' fees and costs.

         2.      Plaintiffs further allege that, pursuant to the New York Labor Law “NYLL”, they

are entitled to recover from the Defendants: (1) unpaid minimum wage and overtime

compensation; (2) unpaid “spread of hours: premium for each day they worked in excess of ten

(10) hours; (3) damages for failure to give required notices and wage statements; (4) liquidated

damages and civil penalties pursuant to the New York Labor Law and the New York State Wage

Theft Prevention Act; (5) prejudgment and post-judgment interest; and (6) attorneys' fees and

costs.
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        3.      In addition to seeking recovery for the Plaintiffs, this lawsuit also seeks to

recover minimum wage, overtime compensation, spread-of-hours pay, and statutory penalties

for similarly situated employees.

                                 JURISDICTION AND VENUE

        4.      This Court has subject matter jurisdiction over Plaintiff’s federal claims pursuant

to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), and 28 U.S.C. §§ 1331 and

1337 and 1343 and has supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

U.S.C. § 1367(a).

        5.      Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

1391 because the conduct making up the basis of the complaint took place in this judicial

district.

                                             PARTIES

        6.      Plaintiff Morocho is a resident of Port Chester, New York.

        7.      Plaintiff Zambrano is a resident of Stamford, Connecticut.

        8.      Plaintiff Estrada is a resident of Greenwich, Connecticut.

        9.      Island Park Auto Body (the “Corporate Defendant”) is a domestic corporation

organized under the laws of the State of New York, with a New York Department of State

address for process listed as 29 New Broad St., Port Chester, NY 10573.

        10.     Upon information and belief, Defendant Michael Masi (the “Individual

Defendant”) is residing in 47 Gary Road, Stamford, CT 06903.

        11.     Upon information and belief the Individual Defendant is the owner, shareholder,

director, supervisor, managing agent, and/or proprietor, of the Corporate Defendants.

        12.     The Individual Defendant actively participates in the day-to-day operations of

each of the Corporate Defendants and acted intentionally and maliciously and is an employer
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pursuant to the FLSA, 29 U.S.C. § 203(d) and Regulations promulgated thereunder, 29 C.F.R. §

791.2, as well as New York Labor Law§ 2 and the Regulations thereunder, and is jointly and

severally liable with the Corporate Defendants.

       13.     Defendants run a mechanic automobile body shop in the State of New York.

       14.     Upon information and belief, the auto body shop is centrally controlled and/or

owned by the Individual Defendant.

       15.     Upon information and belief, the Individual Defendant has had control over and

the power to change compensation practices for all employees, determine employee policies for

employees, including, but not limited to, time-keeping, payroll policies, and any other policies

regarding the employees.

       16.     Upon information and belief, at all times relevant to the allegations in this

Complaint, the Defendants are and continue to be an "enterprise engaged in commerce" within

the meaning of the FLSA in that Defendants (i) have and had employees engaged in commerce

or in the production of goods for commerce, or that handle, sell, or otherwise work on goods or

materials that have been moved in or produced for commerce, and (ii) have and had an annual

gross volume of sales of not less than $500,000.

       17.     Defendants continuously employed Plaintiffs to work as non-exempt employees.

       18.     Throughout the employment, Plaintiffs worked at the location of the auto body

shop at 29 New Broad St., Port Chester, NY 10573.

       19.     The work performed by Plaintiffs was essential to the businesses operated by

Defendants.

       20.     Defendants knowingly and willfully failed to pay Plaintiffs their lawfully

earned wages for each hour of employment in direct contravention of the FLSA and New

York Labor Law’s minimum wage requirements.

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       21.    Defendants knowingly and willfully failed to pay Plaintiffs their lawfully

earned overtime compensation in direct contravention of the FLSA and New York Labor

Law.

       22.    Defendants knowingly and willfully failed to pay Plaintiffs their lawfully

earned "spread of hours" premium in direct contravention of the New York Labor Law.

       23.    Plaintiffs have satisfied all conditions precedent to the institution of this action,

or such conditions have been waived.

                                  STATEMENT OF FACTS

       24.    All Plaintiffs performed substantially similar duties of working in an auto body

shop that Defendants own and operate.

       25.    Plaintiffs at all relevant times were covered employees within the meaning of

the FLSA and NYLL.

       26.    Plaintiff Morocho was employed by Defendants from 2002 to about February

2020. During this time, he worked at 29 New Broad St., Port Chester, New York.

       27.    Plaintiff Morocho’s regular work schedule was 6 days per week, Monday to

Saturday. His hours were, on weekdays, from 8am to 6pm and sometimes until 7pm or later;

and on Saturdays from and 8am to 1pm.

       28.    Plaintiff Morocho was always compensated in cash at a weekly rate regardless

of actual hours worked. When he was hired in 2002 his weekly rate was $300 a week, it was

then raised to $500 a week on or about 2007, and then finally raised to $720 a week in 2016

until he was terminated in February 2020.

       29.    Plaintiff Zambrano was employed by Defendants from 2000 until on or about

January 20, 2020. During this time, he worked at 29 New Broad St., Port Chester, New York.

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        30.    Plaintiff Zambrano’s regular work schedule was 6 days per week, Monday to

Saturday. His hours were, on weekdays, from 8am to 6pm and sometimes until 7pm or later;

and on Saturdays from and 8am to 1pm.

        31.    Plaintiff Zambrano was compensated in cash and in check at a rate of $650 per

week regardless of actual hours worked. He was paid $450 in check and $200 in cash.

        32.    Plaintiff Estrada was employed by Defendants from on or about May of 2008

until February of 2020. During this time, he worked at 29 New Broad St., Port Chester, New

York.

        33.    Plaintiff Estrada’s regular work schedule was 6 days per week, Monday to

Saturday. His hours were, on weekdays, from 8am to 6pm and sometimes until 7pm or later;

and on Saturdays from and 8am to 1pm.

        34.    Plaintiff Estrada was compensated in cash and in check at a rate between $480-

$530 per week. His payments would vary depending on the hours he worked. He would

consistently receive $350 a week by check, and also receive somewhere between $130 and

$180 in cash depending on the number of hours worked. The Defendants never informed

Plaintiff Zambrano about his hourly rate.

        35.    At no point did Defendants inform Plaintiffs of the minimum wage or

overtime provisions of the FLSA or the NYLL.

        36.    Defendants knowingly and willfully operated their business with a policy of not

paying Plaintiffs and other similarly situated employees either the federal or New York State

minimum wage, the FLSA overtime rate (of time and one-half), and the New York State

overtime rate (of time and one-half), in direct violation of the FLSA and New York Labor Law

and the supporting federal and New York State Department of Labor Regulations.


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       37.     Defendants knowingly and willfully operate their business with a policy of not

paying Plaintiffs and other similarly situated employees "spread of hours" premium for each

day that they work a shift in excess of ten (10) hours, in direct violation of the New York

Labor Law and the supporting New York State Department of Labor Regulations.

       38.     Defendants did not furnish Plaintiffs with an accurate statement with every

payment of wages, listing gross wages, deductions and net wages as required by New York

Labor Law § 195.

       39.     Defendants failed to display, in a place accessible to employees and in a visually

conspicuous manner, the notices of employee rights to receive the minimum wage and overtime

pay at a rate of one and one-half times their regular rate as required under the New York Labor

Law.

                                   STATEMENT OF CLAIM

                               COUNT I: FLSA – Overtime Pay

       40.     Plaintiffs re-allege and re-aver each and every allegation and statement contained

in paragraphs above of this Complaint as if fully set forth herein.

       41.     Plaintiffs have consented in writing to be a party to this action, pursuant to 29

U.S.C. § 216(b).

       42.     At all relevant times, upon information and belief, Defendants were and continue

to be an employer engaged in interstate commerce and/or the production of goods for commerce

within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiffs are covered

individuals within the meaning of the FLSA, 29

U.S.C. §§ 206(a) and 207(a).

       43.     At all relevant times, Defendants employed Plaintiffs within the meaning of

the FLSA.

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       44.     Upon information and belief, at all relevant times, Defendants have had gross

revenues in excess of $500,000.

       45.     Plaintiffs were entitled to be paid at the rate of time and one-half for all hours

worked in excess of the maximum hours provided for in the FLSA.

       46.     Defendants failed to pay Plaintiffs overtime compensation in the lawful amount

for all hours worked in excess of the maximum hours provided for in the FLSA.

       47.     At all relevant times, Defendants had, and continue to have a policy and practice

of refusing to pay overtime compensation at the statutory rate of time and one-half to Plaintiffs

for all hours worked in excess of forty (40) hours per work week, which violated the FLSA,

29 U.S.C. §§ 201, et seq., including 29 U.S.C. §§ 207(a)(l) and 215(a).

       48.     Defendants knowingly and willfully disregarded the provisions of the FLSA as

evidenced by their failure to compensate Plaintiffs the statutory overtime rate of time and one-

half for all hours worked in excess of forty (40) hours per week, when they knew or should have

known such was due and that non-payment of minimum wage and overtime compensation

would financially injure Plaintiffs.

       49.      Defendants have failed to make, keep and preserve records with respect to each

of its employees sufficient to determine the wages, hours and other conditions and practices of

employment in violation of the FLSA, 29 U.S.A. §§ 201, et seq., including 29 U.S.C. §§ 21 l(c)

and 215(a).

       50.     Defendants failed to properly disclose or apprise Plaintiffs of their rights under

the FLSA.

       51.     As a direct and proximate result of Defendants' violation of the FLSA, Plaintiffs

are entitled to liquidated damages pursuant to the FLSA.

       52.     Due to the reckless, willful and unlawful acts of Defendants, Plaintiffs suffered

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damages in an amount not presently ascertainable of unpaid overtime compensation, an equal

amount as liquidated damages, and prejudgment interest thereon.

         53.      Plaintiffs are entitled to an award of their reasonable attorneys' fees, costs and

expenses, pursuant to 29 U.S.C. § 216(b).

               COUNT II: NYLL – Minimum Wage, Overtime, Spread-of-Hours Pay

         54.      Plaintiffs re-allege and re-aver each and every allegation and statement contained

in paragraphs above of this Complaint as if fully set forth herein.

         55.      Defendants employed Plaintiffs within the meaning of New York Labor Law §§

2 and 651.

         56.      Defendants knowingly and willfully violated the rights of Plaintiffs by failing to

pay Plaintiffs the applicable minimum wage for all straight time hours worked and required

overtime compensation at the rate of time and one-half for each hour worked in excess of forty

(40) hours in a workweek.

         57.      Employers are required to pay a "spread of hours" premium of one (1) additional

hour' s pay at the statutory minimum hourly wage rate for each day where the spread of hours in

an employee's workday exceeds ten (10) hours.

         58.      Defendants knowingly and willfully violated the rights of Plaintiffs by failing to

pay "spread of hours" premium to Plaintiffs for each day they worked in excess of ten (10)

hours.

         59.      Defendants failed to properly disclose or apprise Plaintiffs of their rights

under the New York Labor Law.

         60.      Defendants failed to furnish Plaintiffs with a statement with every payment of

wages listing gross wages, deductions and net wages, in contravention of New York Labor Law

§ 195(3) and New York State Department of Labor Regulations.
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          61.   Defendants failed to keep true and accurate records of hours worked by each

employee covered by an hourly minimum wage rate, the wages paid to all employees, and other

similar information in contravention of New York Labor Law § 661.

          62.   Defendants failed to establish, maintain, and preserve for not less than six (6)

years payroll records showing the hours worked, gross wages, deductions, and net wages for each

employee, in contravention of the New York Labor Law§ 194(4), and New York State

Department of Labor Regulations.

          63.   At the time of their hiring, Defendants failed to notify Plaintiffs of their rates

of pay and their regularly designated payday, in contravention of New York Labor Law §

195(1).

          64.   Due to the Defendants' New York Labor Law violations, Plaintiffs are entitled to

recover from Defendants the difference between their actual wages and the amounts that were

owed under the New York Labor law. The deficiency accounts for minimum wage for all

straight time hours, overtime compensation for all overtime hours, "spread of hours" premium,

reasonable attorneys' fees, and costs and disbursements of this action, pursuant to New York

Labor Law§§ 663(1), 198.

          65.   Plaintiffs are also entitled to liquidated damages pursuant to New York Labor

Law§ 663(1), as well as civil penalties and/or liquidated damages pursuant to the New York

State Wage Theft Prevention Act.

           COUNT III: NYLL - Annual Wage Notice and Periodic Wage Statements

          66.   Plaintiffs re-allege and re-aver each and every allegation and statement contained

in paragraphs above of this Complaint as if fully set forth herein.

          67.   Defendants have willfully failed to supply Plaintiffs with wage notices, as

required by NYLL, Article 6, § 195(1), in English or in the language identified by Plaintiffs as
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their primary language, containing Plaintiffs’ rate or rates of pay and basis thereof, whether paid

by the hour, shift, day, week, salary, piece, commission, or other; hourly rate or rates of pay and

overtime rate or rates of pay if applicable; the regular pay day designated by the employer in

accordance with NYLL, Article 6, § 191; the name of the employer; any "doing business as"

names used by the employer; the physical address of the employer's main office or principal

place of business, and a mailing address if different; the telephone number of the employer; plus

such other information as the commissioner deems material and necessary.

        68.     Through their knowing or intentional failure to provide Plaintiffs with the wage

notices required by the NYLL, Defendants have willfully violated NYLL, Article 6, §§ 190 et

seq., and the supporting New York State Department of Labor Regulations.

        69.     Defendants have willfully failed to supply Plaintiffs with accurate statements of

wages as required by NYLL, Article 6, § 195(3), containing the dates of work covered by that

payment of wages; name of employee; name of employer; address and phone number of

employer; rate or rates of pay and basis thereof, whether paid by the hour, shift, day, week,

salary, piece, commission, or other; gross wages; hourly rate or rates of pay and overtime rate or

rates of pay if applicable; the number of hours worked, including overtime hours worked if

applicable; deductions; and net wages.

        70.     Through their knowing or intentional failure to provide Plaintiffs with the

accurate wage statements required by the NYLL, Defendants have willfully violated NYLL,

Article 6, §§ 190 et seq., and the supporting New York State Department of Labor Regulations.

       71.      Due to Defendants' willful violations of NYLL, Article 6, § 195(1), Plaintiffs are

entitled to statutory penalties of fifty dollars each day that Defendants failed to provide Plaintiffs

with wage notices, or a total of five thousand dollars each, reasonable attorneys' fees, costs, and

injunctive and declaratory relief, as provided for by NYLL, Article 6, § 198(1-b ).

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           72.    Due to Defendants' willful violations of NYLL, Article 6, § 195(3), Plaintiffs are

   entitled to statutory penalties of two hundred fifty dollars for each workweek that Defendants

   failed to provide Plaintiffs with accurate wage statements, or a total of five thousand dollars

   each, reasonable attorneys' fees, costs, and injunctive and declaratory relief, as provided for by

   NYLL, Article 6, § 198(1-d).

                                        PRAYER FOR RELEIF

   WHEREFORE, Plaintiffs, Galo Morocho, Jose Estrada, and Luis Zambrano respectfully request

   that this Court grant the following relief:

   i.   An award for unpaid overtime compensation due under the FLSA and New York Labor Law;
  ii.   An award of unpaid minimum wage under the New York Labor Law;

 iii.   An award of unpaid "spread of hours" premium due under the New York Labor Law;
 iv.    An award of liquidated damages as a result of Defendants' failure to pay overtime
        compensation pursuant to 29 U.S.C. § 216;
  v.    An award of liquidated damages as a result of Defendants' failure to pay minimum wage
        compensation, overtime compensation and "spread of hours'' premium pursuant to the New
        York Labor Law and the New York State Wage Theft Prevention Act;
 vi.    An award of civil penalties pursuant to the New York State Wage Theft Prevention Act;
vii.    An injunction requiring Defendants to pay all statutorily required wages pursuant to the
        FLSA and NYLL
viii.   An award of prejudgment and post-judgment interest;
 ix.    An award of costs and expenses associated with this action, together with reasonable
        attorneys' and expert fees pursuant to 29 U.S.C. 216(b) and the NYLL; and
  x.    Such other and further relief as this Court determines to be just and proper.


                                            JURY DEMAND

   Pursuant to FRCP 38 Plaintiffs demand trial by jury on all issues.

   Dated: New York, New York
          September 17, 2020                     LAW OFFICE OF MOHAMMED GANGAT

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